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                         EXHIBIT 25
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                               ATTORNEYS
                                      214 EYES ONLY




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                               ATTORNEYS
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                               ATTORNEYS
                                      214 EYES ONLY




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                               ATTORNEYS
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                               ATTORNEYS
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                                ATTORNEYS
                                      214 EYES ONLY




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                                      214 EYES ONLY




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                                      214 EYES ONLY




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                                      214 EYES ONLY




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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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                                ATTORNEYS
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